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                        UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA
                                          Civil Minutes


 Date: February 24, 2022                                              Judge: Hon. James Donato

 Time: 11 Minutes

 Case No.       3:20-cv-08570-JD
 Case Name      Klein et al v. Meta Platforms, Inc.

 Attorney(s) for Plaintiff(s):    Yavar Bathaee/Stephen A. Swedlow/Sam Brown
 Attorney(s) for Defendant(s):    Sonal Mehta/David Gringer

 Court Reporter: Summer Fisher

 Deputy Clerk: Lisa Clark

                                        PROCEEDINGS

Case Management Conference -- Held

                                     NOTES AND ORDERS

The parties are directed to file by March 10, 2022, a joint statement proposing a disposition of
the Loveland and Rosenman actions in light of the consolidation order. The parties are also
directed to propose an initial date for the quarterly status conferences.

The reference of discovery disputes to Judge DeMarchi is withdrawn. The parties are directed to
the Court’s standing order for civil discovery for the procedures that will be used going forward.




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